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                       IN T H E UNITED STATES D I S T R I C T C O U R T
                       FOR T H E NORTHERN D I S T R I C T O F T E X A S
                                    D A L L A S DIVISION

MARIA O R O Z C O AND                         §
JOSE OROZCO,                                  §
                                              §
        Plaintiffs,                           §
                                              §              No.
v.                                            §
                                              §                 J U R Y DEMAND
S T A T E F A R M F I R E AND                 §
C A S U A L T Y COMPANY,                      §
                                              §
         Defendant.                           §

                          D E F E N D A N T S NOTICE OF R E M O V A L

TO THE HONORABLE COURT:

        Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant State Farm Fire and Casualty

Company ("State Farm") files this Notice of Removal to the United States District Court for the

Northern District of Texas, Dallas Division, on the basis of diversity of citizenship and amount

in controversy and respectfully show:

                                       I.
                      FACTUAL AND PROCEDURAL BACKGROUND

         1.    On April 14, 2015, Plaintiffs Maria Orozco and Jose Orozco filed their Original

Petition in the matter styled Maria Orozco and Jose Orozco v. State Farm Fire and Casualty

Company, Cause No. DC-15-04242, in the 44th Judicial District Court of Dallas County, Texas.

The lawsuit arises out of a claim Plaintiffs made for damages to their property under insurance

policy no. 43-QN-7775-9, issued by State Farm Lloyds, effective May 27, 2013 through May 27,

2014.

        2.     Plaintiffs served State Farm with a copy of the Original Petition on or about April

23,2015.


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           3.         Defendant State Farm files this Notice of Removal within 30 days of receiving

Plaintiffs' pleading. See 28 U.S.C. § 1446(b). In addition, this Notice of Removal is being filed

within one year of the commencement of this action. See id.

           4.         A l l pleadings, process, orders, and other filings in the state court action are

attached to this Notice as required by 28 U.S.C. § 1446(a).                  A copy of this Notice is also

concurrently being filed with the state court and served upon the Plaintiffs. As required by 28

U.S.C. § 1446(a). and Rule 81.1 of the Local Rules for the United States District Court of the

Northern District of Texas, being filed simultaneously with the filing of this Notice of Removal

is an Index of State Court Documents, which is attached hereto as Exhibit "A." A copy of the

Case Summary sheet is attached hereto as Exhibit "B." A copy of Plaintiffs' Original Petition is

attached hereto as Exhibit "C." A copy of the Citation to State Farm Fire and Casualty Company

is attached hereto as Exhibit "D." Also included with this filing are Defendant's Certificate of

Interested Persons, which is attached hereto as Exhibit "E," and a Supplemental Civil Cover

Sheet.

           5.         Venue is proper in this Court under 28 U.S.C. §1441(a) because this district and

division embrace Dallas County, Texas, the place where the removed action has been pending

and where the incident giving rise to this lawsuit took place.

                                                             II.

                                                   BASIS FOR R E M O V A L

           6.        Removal is proper based on diversity of citizenship under 28 U.S.C. §§1332(a),

1441(a) and 1446.




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A. The Proper Parties Are Of Diverse Citizenship

          7.       Plaintiffs are, and were at the time the lawsuit was filed, residents of Dallas

County. Texas, and citizens of the State of Texas. See Pis' Original Pet. §11.1, attached hereto as

Exhibit "C."

          8.       State Farm was at the time this action was commenced, and still is, a citizen of the

State of Illinois. State Farm is a corporation organized under the laws of the State of Illinois and

maintains its principal place of business in McLean County, Illinois.            Therefore, complete

diversity of citizenship exists between Plaintiffs and State Farm.

          9.       Because Plaintiffs are citizens of Texas and Defendant State Farm is a citizen of

Illinois, complete diversity of citizenship exists among the proper parties.

B. The Amount in Controversy Exceeds $75,000.00

          10.      This is a civil action in which the amount in controversy exceeds $75,000.00. In

their complaint, Plaintiffs allege a variety of claims arising from "a claim to Defendant against

the Policy for roof and other damage and resulting water damage the Property sustained as a

result of a wind and hail storm." See Pis' Original Pet. § V.5, attached hereto as Exhibit "C."

Specifically, but without limitation, Plaintiffs allege that Defendant State Farm breached the

insurance policy number 43-QN-7775-9, with a Dwelling Limit of $175,600.00, a Dwelling

Extension Limit up to $17,560.00, and a Personal Property Limit of $137,700.00, for the

property located at 4503 Ginger Ave., Dallas, Texas 75211-4534 (the property giving rise to the

present dispute). See Exhibit "F," Declaration of Scott L. Rogers, attached hereto and fully

incorporated herein as i f set out in full. In determining the amount in controversy, the Court may

consider "policy limits ... penalties, statutory damages, and punitive damages."             St. Paul

Reinsurance Co., Ltd. v. Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998).



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        11.    Based on the limits of the underlying insurance policy and the allegations set forth

in Plaintiffs' Original Petition, the amount in controversy in this case exceeds the $75,000.00

jurisdictional requirement

                                     Conclusion and Prayer

        A l l requirements are met for removal under 28 U.S.C. §§ 1332, 1441, and 1446.

Accordingly. State Farm Fire and Casualty Company hereby removes this case to this Court for

trial and determination.


                                                Respectfully submitted,

                                                I si Rhonda J. Thompson
                                                Rhonda J. Thompson
                                                State Bar No.: 24029862
                                                Scott L. Rogers
                                                State Bar No.: 24064369

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                                                COUNSEL FOR DEFENDANT
                                                STATE F A R M F I R E AND C A S U A L T Y
                                                COMPANY




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                                       CERTIFICATE OF SERVICE

       This is to certify that on the 14th day of May, 2015. a true and correct copy of the
foregoing was delivered to the following counsel of record by electronic service and/or facsimile
transmission and/or certified mail, return receipt requested:

         Marcos P. Martinez
         Martinez Hsu, P.C.
         1601 E. Lamar Blvd.. Suite 114
         Arlington, Texas 76011
                Counsel for Plaintiffs

                                                I si Rhonda J. Thompson
                                                Rhonda J. Thompson




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